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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO.

VS.

CHRISTOPHER CAVALLO,

-._.-_/-__1~_/~_/\-._.#~._/~_._¢-_/

Defendant.

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WD.OFFM,W

 

04-20510~Ma

 

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 3l,

2005.

Defense

counsel requested a continuance of the present trial date in order

to allow for additional preparation in the case.

The Court granted the

request and continued the trial to the

rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August 12, 2005 is
excludable under l8 U.S.C. § BlGl(h){B}(B)(iv) because the

interests of justice in allowing additional time
outweigh the need for a speedy trial.

IT IS SO ORDERED this

__Hl;:!é; day of June, 2005.

to prepare

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SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

Tnis document entered on the dockets
wlth Flure 55 and/or 32(b) FHCrF' on

 

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This notice confirms a copy of the document docketed as number 29 in
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Honorable Samuel Mays
US DISTRICT COURT

